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                            UNITED STATES DISTRICT COURT
                                    District of Maine


 BRANDON DREWRY,                              )
                                              )
            Plaintiff                         )
                                              )
 v.                                           )    No. 1:16-cv-00075-GZS
                                              )
 MAINE DEPARTMENT OF                          )
 CORRECTIONS, et al                           )
                                              )
            Defendants                        )


                        ORDER AFFIRMING THE
             RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on November 13, 2017, his

Recommended Decision (ECF No. 143). Plaintiff filed his Objection to the Recommended

Decision (ECF No. 152) on January 11, 2018.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in his Recommended Decision, and determine

that no further proceeding is necessary.

       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
               is hereby AFFIRMED.

       2.      It is hereby ORDERED that Plaintiff’s Motion to Compel Discovery (ECF No. 97)
               is hereby DENIED.
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       3.      It is hereby ORDERED that Defendant’s Second Motion for Summary Judgment
               (ECF No. 87) is hereby GRANTED.

       4.      Judgment is hereby entered in favor of Defendants Abbott, Ross, Staples, Averill
               and Court.

       5.      It is ORDERED that Plaintiff’s Renewed Motion to Stay (ECF No. 153) is MOOT.


                                                   /s/George Z. Singal_____________
                                                   U.S. District Judge

Dated this 25th day of January, 2018.
